HINKLE LAW FIRM LLC

1617 North Waterfront Parlcway, Suite 400
Wichita, Kansas 67206-6639
316-267~2000 / 316-264~1518 fax

IN 'I`HE UNI'I`E]) STATES BANKRUPTCY C()URT

FOR THE DISTRICT ()F KANSAS

lN RE:
DFC HOLDINGS, INC.

Debtor(s)

 

IN RE:
C.S. POST, INC.

_Debtor(s.)

 

IN RE:
TI-IE OAK STREET PLANING MILL LLC

Debtor($)

 

INRE:

DFC HOLD[NGS LLC
dba Rose Cumming Chintzes

Debtor($)

 

IN RE:
EB MANUFACTURING LLC

Debtor(S)

 

IN RE:
KENNETH MEYER LLC

Debtor(_S)

 

 

CaS€ 19-10541 DOC# 12

Case NO. 19-10541
Chapter 11

Case No. 19~10542
Chapter 1 l

Case NO. 19-1()543
Chapter l 1

Case NO. 19~10544
Cha'pter ll

Case NO. 19-10545
Chapter 11

Case No. 19-10546
Chapter ll

Filed 04/09/19 Page 1 of 4

In the United States Bankruptcy Court for the District of Kansas

TN RE: DFC Holdings, 1nc., et af.
Banl<ruptcy Case No.
Corporate Resolution

 

 

 

 

 

 

 

 

Pa;.ze 2
IN RE:
Case No. 19-10547
DFC COR_P Chapter 11
Debtor(s)
lN RE‘.
Case No. 19-10548
PALMER HARGRAVE, INC. Chapter 11
Debtor(s)
IN RE:
Case No. 19-10549
DESSIN FOURN]R, INC. Chapter 11
Debtor(S)
IN RE:
Case No. 19-10550
THERIEN LLC Chapter 11
7 D'eb_tor(S)
IN RE:
Case No. 19-10551
THE RlEN CORP Chapter 1 1
Debtor(s)
lN RE:
Case No. 19-10552
CLAS SIC CLOTH, lNC. Chapter 11
Debtor(S)
CORPORATE RES()LUTION

A Special meeting of the Board of Directors of DFC Holdings, 1nc. Was held. The corporation has
a single director, Charles G. Comeau. Mr. Comeau is also President of the corporation

By acclamation, it Was approved by Mr. Comeau as Sole director of DFC Holdings, Inc., a resolution

Case 19-10541 Doc# 12 Filed 04/09/19 Page 2 of 4

ln the United States Bankruptcy Court for the Distriet of Kansas
IN `RE: DFC `Holdings, lnc., et al.

Bankruptcy Case No.

Corporate Resolution
Page 3

for the filing of a Chapter ll proceeding in the United States Bankruptcy Court for the District of
Kansas for DFC Holdings, lnc., together with its related subsidiaries, C .S. Post, lnc., DFC Holdings
LLC, EB Ma'nut`aeturing LLC, Kenneth Meyer LLC, DFC Corp, Palmer Hargrave, lnc., Dessin
Fournir, lnc., Therien LLC, The Rien Corp and Classic Cloth, lnc. The Oak Street Planing Mill LLC
is a wholly owned subsidiary of Dessin Fournir, lnc.

lt was, therefore, adopted by the Board of Directors of DFC Holdings, lnc. that DFC Holdings, lnc.
and its related subsidiaries, C.S. Post, lnc., DFC I-Ioldings LLC, EB Manufaeturing LLC, Kenneth
l\/leyer LLC, DFC Corp, Palmer Hargrave, Ine., Dessin Fournir, lnc., Therien LLC, The Rien Corp
and Classic Cloth, lnc., together with The Oak Street Planing Mill LLC, are authorized to tile a
Chapter 11 proceedings in the United States Banl<ruptcy Court for the District of Kansas.

The second order of business was the consideration of the law firm of l~linkle Law Firm LLC to
represent DFC Hold.ings, lnc. and its related subsidiaries, C.S. Post, lnc., DFC Holdings LLC, EB
l\/lanul"acturing LLC, Kenneth Meyer LLC, DFC Corp, Palmer Hargrave, lnc., Dessin Fournir, lnc.,
Therien LLC, The Rien Corp and Classic Cloth, lnc., in their respective Chapter 11 proceedings
The Oal< Street Pianing Mill LLC is an wholly owned subsidiary by Dessin Fournir, lnc.

lt was adopted by the Board of Directors that the law firm oinnkle Law Firm LLC shall be engaged
to represent DFC Holdings, lnc. and its related subsidiaries, C.S. Post, lnc., DFC Holdings LLC, EB
Manufacturing LLC, Kenneth l\/leyer LLC, DFC Corp, Palmer Hargrave, lnc., Dessin Fournir, lnc.,
'l`herien LLC, The Rien Corp and Classic Cloth, lnc., together with The Oak Street Plamng Mill
LLC, in their respective Chapter 11 proceedings

Th'e third order of business was the authorization of Charles G. Comeau, President ofDFC Holdings,
lnc., to appear on behalf of DFC Holdings, lnc. and its related subsidiaries, C.S. Post, lne., DFC
Holdings LLC, EB Manufacturing LLC, Kenneth Meyer LLC, DFC Corp, Palmer Hargrave, lnc.,
Dessin Fournir, lnc., 'l`herien LLC, The Rien Corp and Classic Cloth, lne., in their respective
bankruptcy proceedings and to otherwise do and perform any and all acts and deeds, and to execute
all necessary documents on behalf of DFC Holdings, lnc. and its related subsidiaries, C.S. Post, lnc.,
DFC Holdings LLC, EB Manufacturing LLC, Kcnneth l\/leyer LLC, DFC Corp, Palmer Hargrave,
Ine., Dessin Fournir, lnc., Therien LLC, The Rien Corp and Classic Cloth, lnc., in connection with
said bankruptcy proceedings The Oak Street Planing Mill LLC is a Wholly owned subsidiary of
Dessin Fournir, lnc.

lt was, therefore, adopted that Charles G. Comeau, President, is authorized to appear in the
bankruptcy proceedings on behalf of DFC Holdings, lnc, and its related subsidiaries, C. S. Po st, lnc.,
DFC Holdings LLC, EB Manufaeturing LLC, Kenneth Meyer LLC, DFC Corp, Palmer Hargrave,
lnc., Dessin Fournir, lnc., rl`herien LLC, 'l`he Rien Corp and Classic Cloth, lnc.,together with The
Oak Street Planing Mill LLC, and to otherwise do and perform any and all acts and deeds and to

Case 19-10541 Doc# 12 Filed 04/09/19 Page 3 of 4

ln the United States B'ani<ruptcy Court for the District r)i’l(ansas
l`N RE: DFC lloidings, lnc., et a|.

Banl<ruptcy Ca'se No.

Corporate Resolution
Pagc 4

execute and deliver all necessal"y documents on behalf ot` DFC Holdings,, lnc. and its related
subsidiaries, C.S. Post, inc., DFC l'lol.dings LLC, EB Manufactnring LLC, Kenneth l[\/leyer LLC,
DFC Colp, Palmer Hargi'ave, lnc., Dessin Fornnir, lnc., Therien LLC, The Rien Corp and Classic
Cloth, lnc., together with The Oak Street Planirig Mill LLC, in connection with said bankruptcy
proceedings

There being no further bnsiness, the meeting was adj ourned.

Charle;G. Comeau, President and Sole Direetor of
DFC I“loldings, lnc.

 

Case 19-10541 Doc# 12 Filed 04/09/19 Page 4 of 4

